         Case 1:21-cr-00038-CRC Document 179 Filed 03/06/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
v.                                  )                1:21-cr-38
                                    )
BARNETT                             )
____________________________________)

DEFENDANTS TO STRIKE GOVERNMENT’S OPPOSITION TO THE DEFENDANT’S
            POST-VERDICT RULE 29 AND RULE 33 MOTIONS


       Defendant, through counsel, hereby files this motion to strike the Government’s

Opposition to the Defendant’s Post-verdict Rule 29 and Rule 33 Motions.

       Defendant filed two motions, a Rule 29, ECF No. 175, and Rule 33, ECF No. 174.

Pursuant to the LCrR 47(e), “A memorandum of points and authorities in support of or in

opposition to a motion shall not exceed 45 pages and a reply memorandum shall not exceed 25

pages, without prior approval of the Court. Documents that fail to comply with this provision

shall not be filed by the Clerk.The page limit for responsive motions is 45 pages.”

       The Government asked for an extension to file “responses.” ECF No. 176.

       Defendant did not oppose the motion to extend time and was under the impression, as the

motion’s title stated, that two separate “responses” would be filed by the Government.

       On March 5, the Government filed a single motion exceeding the 45 page limit without

leave of the court.

       Moreover, the Government combined its responses to Defendant’s Rule 29 and Rule 33

Motions into a single omnibus motion.
         Case 1:21-cr-00038-CRC Document 179 Filed 03/06/23 Page 2 of 2




       As the Government did not request leave to combine its motions or to extend the page

limit, the Defendant respectfully requests that the Court strike this motion and issue an order

requiring the Government to file two separate motions.

       The Defense team objects to the single omnibus motion because the Defense team has

separate motion writing efforts and it is unduly burdensome to respond to an omnibus motion.

                                         CONCLUSION

       For the foregoing reasons, Count One should be dismissed with prejudice.

Dated: March 6, 2023



                                                     Respectfully submitted,

                                                     /s/ Jonathan S. Gross /s/
                                                     Jonathan S. Gross
                                                     The Clevenger Firm
                                                     Bar ID: MD0162
                                                     2833 Smith Ave, Suite 331
                                                     Baltimore, MD 21209
                                                     p: (443) 813-0141
                                                     e: jon@clevengerfirm.com




                                 CERTIFICATE OF SERVICE

       I hereby certify on this 6th day of March 2023, a copy of the foregoing was served upon

all parties as forwarded through the Electronic Case Filing (ECF) System.

                                      /s/ Jonathan Gross, Esq

                                       Jonathan Gross, Esq.
